Entered: February 28th, 2019
                                Case 18-22014   Doc 47     Filed 02/28/19   Page 1 of 2
Signed: February 28th, 2019

SO ORDERED
No response or opposition.




                                           UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF MARYLAND
                                                       at Salisbury
                   IN RE:

                   Scott A. Mason,                                    Case No.: 18-22014
                   aka Scott Mason                                    Chapter 7
                   Grace K. Mason,
                   aka Grace Mason
                              DEBTOR(S)


                   The Bank of New York Mellon F/K/A The
                   Bank of New York as Successor in interest to
                   JPMorgan Chase Bank, N.A. as Trustee for
                   Centex Home Equity Loan Trust 2005-A, by
                   Nationstar Mortgage LLC, d/b/a Mr. Cooper,
                   Servicing Agent
                              MOVANT
                               vs.
                   Scott A. Mason,
                   aka Scott Mason
                   Grace K. Mason,
                   aka Grace Mason

                   and
                   George W. Liebman, Trustee
                             RESPONDENT(S)

                               ORDER GRANTING RELIEF FROM AUTOMATIC STAY AS TO THE

                                                                  1
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                            PROPERTY KNOWN AS
               34206 OLD OCEAN CITY ROAD, PITTSVILLE, MD 21850
      Upon consideration of the foregoing Motion Seeking Relief from the Automatic Stay,
no opposition having been filed, and good cause having been shown, it is by the United States
Bankruptcy Court for the District of Maryland
      ORDERED

      That the automatic stay imposed by 11 U.S.C. Section 362(a), be and the same is
hereby, terminated to enable The Bank of New York Mellon F/K/A The Bank of New York as
Successor in interest to JPMorgan Chase Bank, N.A. as Trustee for Centex Home Equity Loan
Trust 2005-A, by Nationstar Mortgage LLC, d/b/a Mr. Cooper, Servicing Agent, or its
successors and assigns, to proceed with foreclosure and/or accept a Deed in Lieu of
Foreclosure against the real property and improvements known as 34206 Old Ocean City
Road, Pittsville, MD 21850 and allow the successful purchaser thereof to obtain possession of
same.

cc:   Cohn, Goldberg & Deutsch, LLC
      600 Baltimore Avenue, Suite 208
      Towson, MD 21204
      Scott A. Mason
      aka Scott Mason
      34206 Old Ocean City Road
      Pittsville, MD 21850

      Grace K. Mason
      aka Grace Mason
      34206 Old Ocean City Road
      Pittsville, MD 21850
      and respondent(s)' counsel:                 George W. Liebman, Trustee
      Ann Shaw, Esquire                           8 W. Hamilton Street
      212 W. Main Street, Ste. 303                Baltimore, MD 21201
      Salisbury, MD 21803
                                        End of Order




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